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                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                        MOTION INFORMATION STATEMENT

Docket Number(s): 25-1687                                                                         Caption [use short title]

Motion for: leave to file as amicus curiae in support of                     Petersen Energia Inversora S.A.U., et al.
the Argentine Republic's motion for a stay pending appeal                    v. Argentine Republic


Set forth below precise, complete statement of relief sought:
The United States of America seeks leave to file a
memorandum as amicus curiae in support of
defendant-appellant Argentine Republic's motion for a
stay pending appeal.




MOVING PARTY: United States of America                                 OPPOSING PARTY: Petersen Energia Inversora S.A.U., et al.

              Plaintiff                     Defendant

              Appellant/Petitioner       Appellee/Respondent

MOVING ATTORNEY: David E. Farber                           OPPOSING ATTORNEY: Paul D. Clement
                         [name of attorney, with firm, address, phone number and e-mail]
U.S. Attorney's Office for the Southern District of New York Clement & Murphy, PLLC

86 Chambers Street, Third Floor, New York, NY 10007 706 Duke Street, Alexandria, VA 22314
(212) 637-2772 / david.farber@usdoj.gov                                 (202) 742-8900 / paul.clement@clementmurphy.com

Court- Judge/ Agency appealed from: Southern District of New York / Hon. Loretta A. Preska

Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                           INJUCTIONS PENDING APPEAL:
 Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          Yes No
             Yes       No (explain):                                        Has this relief been previously sought in this court? Yes No

                                                                            Requested return date and explanation of emergency:

Opposing counsel’s position on motion:
            Unopposed        Opposed      Don’t Know
Does opposing counsel intend to file a response:
             Yes      _No       Don’t Know



Is the oral argument on motion requested?               Yes     No (requests for oral argument will not necessarily be granted)


Has the appeal argument date been set?                  Yes     No If yes, enter date:


Signature
      ure of
          of Moving
             M vviing
             Mo    n At
                      Attorney:
                                              Date: 07/17/2025               Service :    Electronic        Other [Attach proof of service]

Form T-1080 (rev. 10-23)
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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

Petersen Energía Inversora S.A.U.
Petersen Energía S.A.U.,
                    Plaintiffs-Appellees,
           v.                                           Docket No. 25-1687
Argentine Republic,
                    Defendant-Appellant.


The United States’ Motion for Leave to File as Amicus Curiae in
Support of the Argentine Republic’s Motion for a Stay Pending
                            Appeal

     Pursuant to 28 U.S.C. § 517 and Federal Rule of Appellate

Procedure 27, the United States of America hereby seeks leave to file a

memorandum as amicus curiae in support of defendant-appellant

Argentine Republic’s motion for a stay pending appeal (ACMS No. 15).

     As    explained        in   the     proposed     memorandum,         docketed

simultaneously with this motion, the United States has a substantial

interest in the issues presented by this appeal, which implicate

concerns of foreign policy and international relations, as well as the

proper interpretation of federal statutory and common law.

     Counsel for defendant-appellant consents to this motion, and

counsel for plaintiffs-appellees does not consent to this motion.

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Dated: New York, New York          Respectfully submitted,
       July 17, 2025
                                   SEAN BUCKLEY
                                   Deputy United States Attorney for the
                                   Southern District of New York
                                   Attorney for the United States as
                                   Amicus Curiae,
                                   Acting Under Authority Conferred by
                                   28 U.S.C. § 515.

                              By: /s/ David E. Farber
                                  DAVID E. FARBER
                                  BENJAMIN H. TORRANCE
                                  Assistant United States Attorneys
                                  86 Chambers Street, Third Floor
                                  New York, NY 10007
                                  Telephone: (212) 637-2772; 2703
                                  Email: david.farber@usdoj.gov
                                         benajmin.torrance@usdoj.gov

                      Certificate of Compliance

Pursuant to Federal Rule of Appellate Procedure 32(g), the above-
named counsel hereby certifies that this memorandum complies with
the type-volume limitation of the Federal Rules of Appellate Procedure.
As measured by the word processing system used to prepare it, this
memorandum contains 106 words.




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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

Petersen Energía Inversora S.A.U.
Petersen Energía S.A.U.,
                     Plaintiffs-Appellees,
            v.                                            Docket No. 25-1687
Argentine Republic,
                     Defendant-Appellant.



           Memorandum of Law of the United States as
    Amicus Curiae in Support of the Argentine Republic’s Motion
                     for a Stay Pending Appeal


                         Interest of the United States

       Plaintiffs in this case are creditors who hold a judgment against the

Argentine Republic (“Argentina”). They seek to execute that judgment

against Argentina’s majority shareholder interest in YPF, S.A. (“YPF ”)—

foreign state property held by Argentina outside the United States. On

June 30, 2025, the district court ordered Argentina to transfer that

property into the United States for turnover to plaintiffs. See Petersen

Energía Inversora S.A.U. v. Argentine Republic, No. 15 Civ. 2739, 2025

WL 1796392 (S.D.N.Y. June 30, 2025).1




1 The government has filed essentially identical amicus submissions
supporting Argentina’s request for a stay pending appeal in all three
cases being heard in tandem by this Court.
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     This case implicates the government’s strong interest in the proper

application of principles of foreign sovereign immunity under the Foreign

Sovereign Immunities Act of 1976 (“FSIA”) and federal common law.

Those issues can have significant ramifications for the United States’

foreign relations and may affect the reciprocal treatment of the United

States and its property in the courts of other nations. Pursuant to

28 U.S.C. § 517, the government submits this memorandum as amicus

curiae in support of Argentina’s request for a stay pending appeal to allow

for orderly briefing and proper resolution of these important issues.

A. Argentina Is Likely to Prevail on the Merits

     Foreign sovereign immunity originally “developed as a matter of

common law,” Samantar v. Yousuf, 560 U.S. 305, 311 (2010), and under

common-law principles, “the property of foreign states is absolutely

immune from execution,” H.R. Rep. No. 94-1487 at 27 (citing Dexter &

Carpenter v. Kunglig Jarnvagsstyrelsen, 43 F.2d 705 (2d Cir. 1930)). The

FSIA provides limited exceptions to that rule, but those exceptions are

specifically limited to “property in the United States of a foreign state.”

28 U.S.C. §§ 1609-1610 (emphasis added). The FSIA “lift[ed] execution

immunity [only] ‘in part,’ ” De Letelier v. Republic of Chile, 748 F.2d 790,



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798-99 (2d Cir. 1984) (quoting H.R. Rep. No. 94-1487 at 8), solely for

property in the United States. It did not abrogate execution immunity of

foreign state property located abroad. Autotech Techs. LP v. Integral

Research & Dev. Corp., 499 F.3d 737, 750 (7th Cir. 2007) (“The FSIA did

not purport to authorize execution against a foreign sovereign’s property,

or that of its instrumentality, wherever that property is located around

the world.”).

     Argentina is likely to prevail in this appeal because the district

court’s turnover order is inconsistent with those principles. In

determining that the property at issue was not immune from execution,

the district court (incorporating its prior reasoning in Bainbridge Fund

Ltd. v. Republic of Argentina, 690 F. Supp. 3d 411, 415-16 (S.D.N.Y.

2023)) relied on Peterson v. Islamic Republic of Iran, 876 F.3d 63, 91

(2d Cir. 2017) (“Peterson II”), in which this Court concluded creditors

could seek a turnover order directing foreign sovereign assets abroad to

be brought into the United States in aid of execution. But Peterson II was

vacated by the Supreme Court, Clearstream Banking S.A. v. Peterson,

140 S. Ct. 813 (2020) (granting certiorari, vacating judgment, and

remanding in light of intervening legislation), and its analysis was not



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reinstated by this Court on remand, Peterson v. Islamic Republic of Iran,

963 F.3d 192, 196 (2d Cir. 2020).

      Moreover, every decision of a court of appeals that has directly

addressed the issue, apart from the now-vacated opinion in Peterson II,

has treated the presence of foreign sovereign property in the United

States as a prerequisite to execution in U.S. courts. EM Ltd. v. Republic

of Argentina, 695 F.3d 201, 208 (2d Cir. 2012) (“[A] district court sitting

in Manhattan does not have the power to attach Argentinian property in

foreign countries.”); Aurelius Capital Partners, LP v. Republic of

Argentina, 584 F.3d 120, 130 (2d Cir. 2009) (“[P]roperty that is subject to

attachment and execution must be property in the United States of a

foreign state.” (quotation marks omitted)); Rubin v. Islamic Republic of

Iran, 830 F.3d 470, 475 (7th Cir. 2016), aff ’d, 583 U.S. 202 (2018);

Peterson v. Islamic Republic of Iran, 627 F.3d 1117, 1131-32 (9th Cir.

2010); Connecticut Bank of Commerce v. Republic of Congo, 309 F.3d 240,

247 (5th Cir. 2002). 2

      Those decisions accord with the requirement of the FSIA’s



2 But see Peterson v. Bank Markazi, 121 F.4th 983, 993 n.3 (2d Cir. 2024)
(dicta suggesting foreign state property abroad “possesses no execution
immunity”).

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exception to execution immunity that executable foreign state property

be “in the United States.” 28 U.S.C. § 1610(a). The district court’s ruling

improperly circumvents that requirement by invoking the New York

turnover statute to order a foreign sovereign to bring its property into the

United States, and only then asking if it “would qualify as property of the

Republic ‘in the United States’ under Section 1610(a).” Petersen Energía,

2025 WL 1796392, at *10. But a state turnover statute like New York’s

cannot overcome the requirements of the FSIA or principles of foreign

sovereign immunity explained above. See Fed. R. Civ. P. 69(a)(1) (“The

procedure on execution . . . must accord with the procedure of the state

where the court is located, but a federal statute governs to the extent it

applies.”); Peterson, 627 F.3d at 1130-32.

     There is no indication that, in enacting the limited exceptions to

execution immunity for foreign state property in the United States in the

FSIA, Congress intended to abrogate all immunity for foreign state

property outside the United States. The FSIA was enacted against a

backdrop of absolute immunity for foreign state property, and should not

be understood to override the preexisting common law rule absent a clear

statement. The FSIA should also be construed consistent with “basic



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principles of customary international law,” which “for the most part” are

“embodie[d]” in the FSIA. Bolivarian Republic of Venezuela v. Helmerich

& Payne Int’l Drilling Co., 581 U.S. 170, 179 (2017). “Under customary

international law, a state may not exercise jurisdiction to enforce in the

territory of another state without the consent of that other state.”

Restatement (Fourth) of Foreign Relations Law § 432 (2018). There is

similarly no indication that Congress intended to abrogate that rule by

enacting the FSIA’s execution immunity provisions without expressly

addressing foreign sovereign property outside the jurisdiction of the

United States. The district court’s contrary holding would lead to the

anomalous result that foreign state property in the United States, which

is only subject to attachment or execution within the strict limitations set

forth in § 1610, would be entitled to greater protection from coercive

measures than a foreign state’s property in its own territory. To avoid

these anomalies, foreign sovereign immunity under the FSIA and

preexisting   common      law    should     be   construed     consistent   with

international law as continuing to provide foreign states’ property located

abroad with absolute immunity against execution.




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B. The Balance of Equities Warrants a Stay

     The equitable factors weigh decisively in Argentina’s favor.

Argentina may be irreparably harmed absent a stay. If Argentina

complies with the turnover orders and transfers the YPF shares to

judgment creditors in the United States, Argentina may lose the ability

to reclaim that property even if it prevails on appeal. On the other hand,

requiring Argentina to post a bond pending appeal, see Fed. R. App. P.

8(a)(2)(E), would require it to locate assets in the United States, which

could then be subject to attachment efforts.

     In contrast, a stay pending appeal will not harm plaintiffs.

Argentina has noted that it retains its shares in YPF and cannot sell

them without legislative authorization. If plaintiffs prevail on the merits,

they will have experienced a relatively short delay of payment in these

long-running cases.

     The district court’s order implicates significant foreign policy

concerns for the United States which merit a stay pending appeal.

Indeed, a court’s seizure of a foreign state’s property can result in a

“specific affront” to that sovereign. Republic of Philippines v. Pimentel,

553 U.S. 851, 866 (2008); accord Republic of Mexico v. Hoffman, 324 U.S.



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30, 35-36 (1945). Moreover, the injunctive relief ordered in this case

“impinge[s] on the sovereignty” of Argentina. BAE Sys. Tech. Sol. &

Servs., Inc. v. Republic of Korea’s Def. Acquisition Program Admin.,

884 F.3d 463, 480 (4th Cir. 2018). The public interest lies in resolving

these weighty issues on the merits, free from the rushed compulsion of

an unstayed turnover order and any negative effects it may have on U.S.

foreign relations with Argentina.

                              CONCLUSION

     The Court should stay the district court’s turnover order pending

final resolution of Argentina’s appeal.




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Dated: New York, New York           Respectfully submitted,
       July 17, 2025
                                    SEAN BUCKLEY
                                    Deputy United States Attorney for the
                                    Southern District of New York
                                    Attorney for the United States as
                                    Amicus Curiae,
                                    Acting Under Authority Conferred by
                                    28 U.S.C. § 515.

                              By: /s/ David E. Farber
                                  DAVID E. FARBER
                                  BENJAMIN H. TORRANCE
                                  Assistant United States Attorneys
                                  86 Chambers Street, Third Floor
                                  New York, NY 10007
                                  Telephone: (212) 637-2772; 2703
                                  Email: david.farber@usdoj.gov
                                         benajmin.torrance@usdoj.gov

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counsel hereby certifies that this memorandum complies with the type-
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memorandum contains 1,416 words.




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